          Case 1:17-cv-05221-LLS Document 262 Filed 04/26/23 Page 1 of 2




From: "lawatf (null)" <lawatf@aol.com>
Date: April 26, 2023 at 1:49:42 PM EDT
To: "Maida, Brian M." <BMaida@pryorcashman.com>
Cc: Michael Lee
<Michael_Lee@nysd.uscourts.gov>, stantonnysdchambers@nysd.uscourts.gov, keisha.rice@g
mail.com
Subject: Re: Griffin v. Sheeran - Defendants' Submission re Altered Melodies

Dear Judge Stanton,

My apologies for the informal response to the matter of slide 48 of the Stewart Presentation.

The premise of the objection appears to be that Dr. Stewart is alleged to have changed the
deposit copy in some fashion—as a preliminary matter, this is not accurate. The deposit copy
presented at the top of the slide.

In that deposit copy excerpt, Dr. Stewart identifies/isolates several syllables
of the vocal line which are less pronounced due to the tempo and/or values of the notes that
present. Dr. Stewart also points out that the nature of the syllable to be sung—to wit, the
vowel “a”—it is difficult to distinguish those particular notes.

The larger point Dr. Stewart is attempting to make is that, despite the limited areas in which the
Melodie’s might vary, those distinctions are less important because they are virtually
imperceivable.

Had the Defendants actually demonstrated that Dr. Stewart had changed or altered the deposit
copy and represented them as the actual protected work, the Defendants might, otherwise,
have s valid point.

But in this instance, Dr. Stewart is merely illustrating a point based on an actual facial
representation of the deposit copy. Accordingly, the Defendants’ position is without merit. The
Defendants’ objection goes to the weight of the evidence and/or the validity of the
methodology of Dr. Stewart. Not to its admissibility.

Sent from my iPhone


On Apr 26, 2023, at 1:33 PM, Maida, Brian M. <BMaida@pryorcashman.com> wrote:


Dear Judge Stanton:

Please find Defendants’ submission attached. Plaintiffs are copied.
          Case 1:17-cv-05221-LLS Document 262 Filed 04/26/23 Page 2 of 2




_______________________________________
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From: Maida, Brian M.
Sent: Wednesday, April 26, 2023 1:32 PM
To: lawatf@aol.com; keisha.rice@gmail.com
Subject: Griffin v. Sheeran - Defendants' Submission re Altered Melodies

See attached



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